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Attorneys for Plaintiff




                                     UNITED STATES DISTRICT COURT

                                           DISTRICT OF OREGON



CONSTANCE GEORGE,                                   Case No. 3:15-cv-01277-SB

                        Plaintiff,                  PLAINTIFF'S EXHIBIT LIST

           v.

HOUSE OF HOPE RECOVERY;
BRIDGES TO CHANGE, INC.;
WASHINGTON COUNTY
DEPARTMENT OF HOUSING
SERVICES, and PATRICIA BARCROFT,

                        Defendants.




Page 1 -        Plaintiff's Exhibit List

4848-7258-2236.3
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                   In accordance with the Court's Civil Trial Management Order (ECF 90) dated

November 30, 2017, Plaintiff, Constance George, by and through her undersigned counsel,

respectfully submits the following list of exhibits she may present at trial:


                                   PLAINTIFF'S EXHIBIT LIST




                                                                                                         Reserved
                                                                                              Received
                                                                                    Offered
   Exhibit                                                Bates No. and/or
                            Description
    No.                                                    Deposition Ex.

      1       House of Hope Policies and Rules       GEORGE 000060-72
      2       House of Hope Intake Documents         HouseofHope0001-13
              for George
      3       Resume of Constance George             GEORGE 000140
      4       Sequoia Medical Records                SMHS000001-12
      5       United States Department of Labor,
              Wage and Hour Division, Changes
              in Basic Minimum Wages in Non-
              Farm Employment Under State
              Law
      6       Reserved: Providence Medical
              Center
      7       Reserved: Mountain View Medical
              Center
      8       Reserved
      9       Reserved
     10       Reserved
     11       Demonstrative Exhibit
     12       Demonstrative Exhibit

     13       Demonstrative Exhibit

     14       Demonstrative Exhibit

     15       Demonstrative Exhibit



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                                                                                                    Reserved
                                                                                         Received
                                                                               Offered
   Exhibit                                              Bates No. and/or
                           Description
    No.                                                  Deposition Ex.

     16       Impeachment Exhibit

     17       Impeachment Exhibit

     18       Impeachment Exhibit

     19       Impeachment Exhibit

     20       Impeachment Exhibit




DATED: February 28, 2018                      MILLER NASH GRAHAM & DUNN LLP



                                              s/ Elisa J. Dozono
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                                     CERTIFICATE OF SERVICE

                   I hereby certify that I served the foregoing Plaintiff's Exhibit List on:

                   Ms. Rebecca Cambreleng
                   Cambreleng Law, LLC
                   806 SW Broadway, Suite 1200
                   Portland, Oregon 97205

                   Attorney for Defendants House of Hope
                   Recovery and Patricia Barcroft

by the following indicated method or methods on the date set forth below:


                 CM/ECF system transmission.

                 E-mail. (Courtesy copy.)

                  E-mail. As required by Local Rule 5-11, any interrogatories, requests for
                   production, or requests for admission were e-mailed in Word or WordPerfect
                   format, not in PDF, unless otherwise agreed to by the parties.

                 First-class mail, postage prepaid.

                 Hand-delivery.

                 Overnight courier, delivery prepaid.

                   DATED: February 28, 2018.



                                                           s/ Elisa J. Dozono
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                                                      Of Attorneys for Plaintiff




Page 1 -     Certificate of Service

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